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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS
                                 AT WICHITA, KANSAS


DIANE LEE and TONG LEE,                          )
                                                 )
                            Plaintiffs,          )
                                                 )
v.                                               ) Case No. 18 CV 1129
                                                 )
TRANSAM TRUCKING, INC. and                       )
DENNY LEE BRENSINGER,                            )
                                                 )
                               Defendants.       )
________________________________________________ )

                                          COMPLAINT

        COME NOW the Plaintiffs, by and through their counsel of record, Stephen L. Brave of

 Brave Law Firm, LLC, and for their claims against the Defendants allege and state as follows:

                                               PARTIES

   1. Plaintiff Tong Lee is a citizen and resident of Arizona.

   2. Plaintiff Diane Lee is a citizen and resident of Arizona.

   3. Defendant Transam Trucking, Inc. is a foreign for-profit corporation with a principal place

       of business at 15910 S. Highway 169, Olathe, Kansas 66062. This Defendant may be

       served through its resident agent, SBLSG Registered Agent, LLC, 9300 West 100th Street,

       Suite 200, Overland Park, Kansas 66212.

   4. Defendant Denny Lee Brensinger is a resident of Florida and may be served at his

       residence at 10341 Choice Drive, Fort Richey, Florida, 34668.

                                 JURISDICTION AND VENUE

   5. The allegations contained in Paragraphs one (1) through four (4) above are incorporated by

       reference.



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6. The United States District Court for the District of Kansas has original jurisdiction in this

   action pursuant to 28 U.S.C. § 1332(a)(1) since the action is between citizens of different

   states and the matter in controversy exceeds the sum or value of Seventy-Five Thousand

   Dollars ($75,000.00) exclusive of interest, attorneys’ fees and costs.

7. This Court has proper venue and jurisdiction over the persons and subject matter.

             FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

8. The allegations contained in Paragraphs one (1) through seven (7) above are incorporated

   herein by reference.

9. On May 6, 2016, at approximately 8:00 p.m., the Plaintiffs were sleeping in their legally

   parked “fifth wheel camper” in the BETO West Conoco parking lot located at 2745 US 75

   Highway in Lebo, Kansas.

10. While the Plaintiffs were sleeping in their camper, Defendant Brensinger was driving a

   semi-tractor trailer, owned by Defendant Transam Trucking, Inc., in the same parking lot.

11. Witnesses observed Brensinger “repeatedly driving through the parking lot in a bizarre

   pattern during which time [he] almost struck another semi tractor” before colliding with the

   front of the Plaintiff’s pickup that was hitched to their camper.

12. As a result of the impact, Plaintiff Tong Lee was thrown out of his bed and sustained

   injury.

13. After the impact, Plaintiff Diane Lee exited the camper to see what had occurred.

14. In the meantime, Defendant Brensinger had backed up the semi and, as a result, there was a

   gap between the Plaintiffs’ pickup truck and the semi.

15. Plaintiff Diane Lee was standing in this gap inspecting the damage to the front of the

   pickup truck when Defendant Brensinger took off, drove the tractor-trailer forward and




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   again struck the front of the Plaintiff’s pickup truck, pinning Plaintiff Diane Lee between

   the two vehicles and causing her to sustain injury.

16. The Coffey County Sheriff’s Office was contacted and Deputy Tim Hamm went to the

   scene to investigate.

17. While at the scene, Deputy Hamm made contact with Defendant Brensinger and observed

   that Brensinger was “sweating profusely, had rapid and shallow breathing, had urinated in

   his pants and did not appear to understand what was going on around him.”

18. Based on these observations, Deputy Hamm concluded that Defendant Brensinger was

   having health problems and he was transported to the Newman Regional Hospital in

   Emporia, Kansas for evaluation.

19. The 2016 Kenworth tractor was that was owned by Defendant Transam Trucking, Inc. and

   being driven by Defendant Brensinger, was a self-propelled motor vehicle that was used on a

   highway in interstate commerce to transport property and weighed more than 10,001 pounds

   and as such was a “commercial motor vehicle” as defined by 49 C.F.R. § 390.5.

20. The 2016 Kenworth tractor was that was owned by Defendant Transam Trucking, Inc. and

   being driven by Defendant Brensinger was a vehicle that had a gross vehicle weight of

   10,001 pounds or more and as such was a “commercial motor vehicle” as defined by Kansas

   Administrative Regulation 82-4-1(d).

21. At the time of the accident and at all times material herein, Defendant Brensinger was acting

   in the course and scope of his employment with Defendant Transam Trucking, Inc.

22. Defendant Brensinger was negligent in the following respects:

       a. Operating a commercial motor vehicle while is ability to drive and/or his alertness was

           so impaired as a result of fatigue, illness, or any other cause, as to make it unsafe for

           him to continue to operate a commercial motor vehicle and this conduct violates 49

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           C.F.R. § 392.3 and adopted by reference by Kansas Administrative Regulation 82-4-

           3h, the violation of which constitutes negligence per se;

       b. Upon information and belief, it is likely that discovery will establish, after a reasonable

           opportunity for further investigation or discovery, that Defendant Brensinger was

           operating a commercial motor vehicle while under the influence of drugs or some

           other substance that rendered him incapable of safely operating a motor vehicle in

           violation of 49 C.F.R. § 392.4 and adopted by reference by Kansas Administrative

           Regulation 82-4-3h, the violation of which constitutes negligence per se;

       c. Upon information and belief, it is likely that discovery will establish, after a reasonable

           opportunity for further investigation or discovery, that Defendant Brensinger was

           operating a commercial motor vehicle when he was out of service in violation of 49

           C.F.R. § 395.3 and adopted by reference by Kansas Administrative Regulation 82-4-

           3a, the violation of which is negligence per se;

       d. Failing to keep a proper lookout while operating a commercial motor vehicle;

       e. Failing to use reasonable care to keep the commercial motor vehicle he was operating

           under control;

       f. Other negligent actions and/or omissions that may be identified as additional

           information regarding Defendant Brensinger is discovered.

23. Defendant Brensinger’s negligence, as described in ¶ 22 herein, was the proximate cause of

   the injuries sustained by the Plaintiff.

24. Defendant Acosta-Corrales’ conduct, as described in ¶ 22 herein, was reckless, willful and

   wanton and Plaintiffs seek punitive damages in addition to compensatory damages.

25. Transam Trucking, Inc. is a for-hire motor carrier and is therefore a “motor carrier” as defined

   by 49 C.F.R. § 390.5.

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26. Transam Trucking, Inc. is a corporation subject to the provisions of the motor carrier laws of

   Kansas and is therefore a “motor carrier” as defined by Kansas Administrative Regulation 84-

   2-1(w).

27. As Defendant Brensinger’s employer, Transam Trucking, Inc. is vicariously liable for his

   negligent conduct.

28. Defendant Transam Trucking Inc. is independently liable for negligently hiring, training,

   supervising and retaining Defendant Brensinger and this conduct was willful and wanton and

   warrants punitive damages.

29. It is anticipated that discovery will reveal that Defendant Transam Trucking, Inc. is further

   independently liable for violating one or more Federal Motor Carrier Safety Act regulations.

                    CIVIL PENALTIES MANDATED BY K.S.A. 66-176

30. The allegations contained in Paragraphs one (1) through twenty-nine (29) above are

   incorporated by reference.

31. Transam Trucking, Inc. is a “public motor carrier of property” as defined by K.S.A. 66-

   1,108(m) because it undertakes for hire to transport by commercial motor vehicle the property

   of others that choose to employ or contract with it.

32. As a public motor carrier of property, Transam Trucking, Inc. is a common carrier under

   Kansas law as set forth in K.S.A. 66-1,110.

33. Pursuant to K.S.A. 66-176, any common carrier that violates any provisions of law for the

   regulation of common carriers shall forfeit, for every offense, to the person aggrieved thereby,

   the actual damages sustained by the party aggrieved, together with the costs of suit and

   reasonable attorney fees, to be fixed by the Court. Plaintiffs seek such damages under this

   statute for each and every violation identified herein.




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34. WHEREFORE, the Plaintiffs seek judgment against the Defendants for damages in excess of

   $75,000.00, for prejudgment interest herein at the maximum amount allowed by law from the

   earliest date possible, punitive damages against each Defendant, for the maximum amount of

   civil penalties mandated by K.S.A. 66-176, reasonable attorney fees mandated by K.S.A. 66-

   176, the costs of suit mandated by K.S.A. 66-176, to be determined and for whatever other

   relief that the Court finds to be just and equitable.


                                    BRAVE LAW FIRM, LLC

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                                                 )
                               Defendants.       )
________________________________________________ )

                                DEMAND FOR JURY TRIAL

       COME NOW the Plaintiffs and demand a pretrial conference and a trial by jury of eight (8)

persons in this matter.

                                   BRAVE LAW FIRM, LLC

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DENNY LEE BRENSINGER,                            )
                                                 )
                               Defendants.       )
________________________________________________ )

                              DESIGNATION OF PLACE OF TRIAL

          COME NOW the Plaintiffs and designate Wichita, Kansas as the place for trial in this

matter.

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